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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO


LULA WILLIAMS, GLORIA TURNAGE,
GEORGE HENGLE, DOWIN COFFY, and
FELIX GILLISON, JR., on behalf of themselves
and all individuals similarly situated,

                      Plaintiffs,
v.

BIG PICTURE LOANS, LLC; MATT MARTORELLO;
ASCENSION TECHNOLOGIES, INC.;
DANIEL GRAVEL; JAMES WILLIAMS, JR.;                         Civil Case No.
GERTRUDE MCGESHICK; SUSAN MCGESHICK;                        Miscellaneous Action
and GIIWEGIIZHIGOOKWAY MARTIN,

                  Defendants.
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          MOTION TO QUASH PLAINTIFFS’ SUBPOENA TO JAMES DOWD
               TO TESTIFY AT DEPOSITION IN A CIVIL ACTION

       Pursuant to Rule 45 of the Federal Rules of Civil Procedure, nonparty James Dowd

moves this Court for an Order quashing Plaintiffs’ August 17, 2018, Subpoena for Dowd to

Testify at a Deposition in a Civil Action (the “Subpoena”) in the matter of Lula Williams v. Big

Picture Loans, LLC, No. 3:17-cv-00461 (REP) (E.D. Va. filed June 22, 2017). The reasons in

support of this motion are set forth in the accompanying memorandum of law, which is

incorporated herein by reference.

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